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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA,
      Plaintiff,                                          Civil No. 3:06CR160 (JBA)

          v.

 EFRAIN JOHNSON,                                          January 26, 2012
      Defendant.

                 RULING ON DEFENDANT’S MOTION TO DISMISS

         Defendant Efrain Johnson moves to dismiss Counts One through Four of the Fifth

Superseding Indictment, or in the alternative, for a bill of particulars. Mr. Johnson argues

that 18 U.S.C. § 1959 as applied to him violates the Commerce Clause, because the

Government cannot prove that he was a member of, nor knew of, the Aquart racketeering

enterprise, which was headed by Azibo Aquart and “operated primarily within the Charles

Street Apartments located at 215 Charles Street, in Bridgeport, Connecticut” (Fifth

Superseding Indictment [Doc. # 951] ¶ 1), and whose “members and associates engaged in

criminal activity including murder, conspiracy to commit murder, assault and narcotics

trafficking” (id.). The Government argues that the jurisdictional interstate nexus required

under the Commerce Clause is for the racketeering enterprise as an entity, and that as to

Defendant’s evidentiary sufficiency challenge, his motion is premature. For the reasons that

follow, Mr. Johnson’s motion to dismiss will be denied, as will his motion for a bill of

particulars.

I.       Procedural Background

         On July 25, 2011, the Grand Jury returned a Fifth Superseding Indictment

(“Indictment” [Doc. # 951]) charging Defendant Johnson and co–defendant Azikiwe Aquart
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with Count One, Conspiracy to Commit Murder in Aid of Racketeering, in violation of 18

U.S.C. § 1959(a)(5) (Count One); and Murder in Aid of Racketeering in violation of 18

U.S.C. § 1959(a)(1) and Aiding and Abetting, in violation of 18 U.S.C. § 2 (Counts Two,

Three and Four). As to Defendant Johnson, the Indictment alleges:

        Defendant EFRAIN JOHNSON associated with, and was recruited by, Azibo
        Aquart to participate, and he did participate in the murders of Tina Johnson,
        James Reid and Basil Williams in order that EFRAIN JOHNSON could gain
        entrance to and maintain and increase his position in the enterprise and as
        consideration for a promise and an agreement to pay anything of pecuniary
        value from the enterprise.

(Indictment at 3 ¶ 3.) The Indictment further alleges that one of the goals of the enterprise

was to “[g]enerate income for members and associates of the Aquart Enterprise through the

sale and distribution of narcotics.” (Id. ¶ 4c.) The Indictment alleges that Defendants

Johnson and Azikiwe Aquart conspired to commit the murders in aid of racketeering, and

committed the murders of Tina Johnson and her associates “as consideration for the receipt

of, and as consideration for a promise and an agreement to pay, anything of pecuniary value

from the enterprise, and for the purpose of gaining entrance to and maintaining and

increasing their position in the enterprise” in violation of Conn. Gen. Stat. §§ 53a-48(a), 53a-

54c, and 53a-54a, all in violation of 18 U.S.C. § 1959(a)(5). Counts Two through Four allege

that Defendant and others murdered Tina Johnson, James Reid and Basil Williams for the

identical motives as Count One in violation of Conn. Gen. Stat. §§ 53a-54a, 53a-54c, and

53a-8a, as well as in violation of 18 U.S.C. § 1959(a) and 18 U.S.C. § 2. (Id. ¶¶ 11, 14, 17.)




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        Defendant moves to dismiss Counts One through Four of the Indictment for lack of

jurisdiction,1 claiming that (1) there is no evidence to establish that his participation in the

murders affected interstate commerce; (2) that the pecuniary gain purpose of § 1959(a)(1)

as alleged in the indictment is essentially the “independent contractor” theory of liability

defined in United States v. Conception, 983 F.2d 369, 384 (2d Cir. 1992) and that this theory

of liability is inconsistent with and violates the Commerce Clause as applied to him; and (3)

that Counts Two through Four of the Indictment are flawed and should be dismissed

because they fail to specify the form of aider and abetter liability he is charged with under

18 U.S.C. § 2. In the alternative, Defendant moves for a bill of particulars.

II.     Legal Standard

        Rule 12(b) of the Federal Rules of Criminal Procedure, governing pretrial motions,

provides that “[a]ny defense, objection, or request which is capable of determination without

the trial of the general issue may be raised before trial by motion.” A motion to dismiss is

“generally capable of determination before trial if it involves questions of law rather than

fact.” United States v. Nukida, 8 F.3d 665, 669 (9th Cir. 1993).

        On a motion to dismiss in a criminal case, the allegations in the indictment must be

accepted as true. United States v. Alfonso, 143 F.3d 772, 776–77 (2d Cir. 1998). “[A]n

indictment is sufficient if it, first, contains the elements of the offense charged and fairly

informs a defendant of the charge against which he must defend, and second, enables him

to plead an acquittal or conviction in bar of future prosecutions for the same offense.”



        1
         At oral argument, Defense counsel agreed that this challenge was more properly
construed as a challenge to the sufficiency of the indictment and an as–applied constitutional
challenge.

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Hamling v. United States, 418 U.S. 87, 117 (1974) (citations omitted). Generally, an

indictment is sufficient if it sets forth the offense in the “words of the statute itself, as long

as those words of themselves fully, directly, and expressly . . . set forth all the elements

necessary to constitute the offense intended to be punished.” Id. at 117. It need not describe

all of the evidence supporting the grand jury’s finding of probable cause. See United States

v. Cephas, 937 F.2d 816, 823 (2d Cir. 1991).

         In the absence of a full proffer of the Government's evidence, "the sufficiency of the

evidence is not appropriately addressed on a pretrial motion to dismiss an indictment."

Alfonso, 143 F.3d at 776–77 (reversing dismissal of an indictment when the district court

“looked beyond the face of the indictment and drew inferences as to the proof that would

be introduced by the government at trial” to satisfy an element of the charge); accord Costello

v. United States, 350 U.S. 359, 363 (1956) (If “valid on its face,” a grand jury indictment “is

enough to call for trial of the charge on the merits.”) (citations and footnote omitted).

III.     Discussion

         Defendant’s motion to dismiss and argument appear to elide the sufficiency of the

indictment’s allegations of Defendant’s criminal activity and its nexus to interstate

commerce, and the sufficiency of the evidence to be offered to prove the interstate commerce

nexus.

         A.     Challenge to the Sufficiency of the Indictment and to the Sufficiency of

                the Evidence of Defendant’s Alleged § 1959 Violation

         At its heart, Defendant’s contention is that the Government’s use of § 1959 to

federally indict him improperly turns a purely state crime into a federal prosecution.

Defendant maintains that “where the predicate murders, and conspiracy to commit murder,


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are the same murders alleged as the racketeering activity engaged in by the enterprise,” the

Commerce Clause is violated. (Def.’s Mot. to Dismiss at 1.) He does not explain this

contention further and his legal premise is not supported by his cited authority, United

States v. Mapp, which held that because § 1959 “preserves the requirement that any predicate

murder, . . . bear a strong relationship to racketeering activity that affects interstate

commerce, it does not risk improperly making purely local crimes a matter of federal

concern.” 170 F.3d 328, 336 (2d Cir. 1999). Further, the Indictment alleges that the Aquart

enterprise’s racketeering activity included “murder, conspiracy to murder, assault and

narcotics trafficking.” (Indictment ¶ 1.) “Racketeering activity” for the purposes of § 1959

is defined under 18 U.S.C. § 1961 as “any act or threat involving murder, kidnapping,

gambling, arson, bribery, extortion, dealing in obscene matter, or dealing in a controlled

substance.” Thus, the Indictment alleges more than the “predicate murders” as the basis for

the Aquart enterprise’s racketeering activity.

       Defendant also acknowledges that the Aquart enterprise’s racketeering activities may

probably affect interstate commerce, and that the murders are alleged to be in aid of

racketeering. He claims that as to him, however, the murders are “purely local in nature”

because he knew nothing of Azibo Aquart’s racketeering enterprise. (Def.’s Mem. Supp. at

8.) Defendant further asserts that “the alleged racketeering activity of the murders, and

conspiracy to commit murder, of the enterprise, [sic] by definition do not affect interstate

commerce.” (Id. at 11 (citing Conn. Gen. Stat. §§ 53a-54c, 53a-54a).) In support of his theory

that this Court lacks jurisdiction, Defendant cites United States v. Ferguson, 246 F.3d 129 (2d

Cir. 2001), which granted a new trial in the absence of evidence that defendant Ferguson,

the alleged hit man, was a member of the enterprise or seeking to gain membership in the


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enterprise. This contrasts with the Fifth Superceding Indictment in Mr. Johnson’s case,

which expressly states that “Efrain Johnson, . . . together with Azibo Aquart,” “were officers,

members and associates of a criminal organization, . . . whose members and associates

engaged in various acts of criminal activity including murder, conspiracy to murder, assault

and narcotics trafficking” (Indictment ¶ 1). It also alleges dual motivations for the murders,

one of which is Defendant’s desire to gain, maintain, or increase his position in the

enterprise. Thus, Defendant’s claim that the Indictment as pled shows the lack of federal

court jurisdiction is unpersuasive.

       At oral argument, Defendant clarified his argument: “there [are] two parts to our

motion. One is a practical matter, dismissal is warranted because the Government—just

doesn’t have the evidence and it can’t make—it can’t plead the case in such a way to satisfy

the necessary element to prove its case to the jury, or alternatively, we need notice of what

we’re defending against.” The Court understands Defendant to be primarily challenging the

sufficiency of the Government’s evidence to charge him under 18 U.S.C. § 1959, Violent

Crimes in Aid of Racketeering (“VCAR”), and under 18 U.S.C. § 2, the aiding and abetting

statute. Defendant contends that because the Government cannot prove that he had

knowledge of the enterprise’s existence, and thus that he knew that his actions were in

furtherance or in relation to the enterprise, his prosecution for federal crimes is improper.

       First, Defendant argues that the Government’s evidence of his VCAR purpose to join,

maintain, or increase his position in the Aquart enterprise is insufficient to support the

element of interstate commerce under § 1959. Next, as to the “pecuniary gain” motive

element in § 1959, discussed by the Second Circuit in United States v. Concepcion, Defendant




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asserts that the Government must allege and prove that he knew of Aquart’s racketeering

enterprise’s existence when he accepted something of pecuniary gain from the enterprise.

       The Second Circuit has enumerated five elements necessary to prove a violation of

18 U.S.C. § 1959:2

       (1) that the Organization was a RICO enterprise, (2) that the enterprise was
       engaged in racketeering activity as defined in RICO, (3) that the defendant
       in question had a position in the enterprise [or was an “independent
       contractor”], (4) that the defendant committed the alleged crime of violence,
       and (5) that his general purpose in so doing was to maintain or increase his
       position in the enterprise [or to commit the act of violence as consideration
       for the receipt of something of pecuniary value from the enterprise].3

United States v. Concepcion, 983 F.2d 369, 381 (2d Cir. 1992).




       2
         18 U.S.C. § 1959, “Violent crimes in aid of racketeering activity,” provides, in
relevant part:

       (a) Whoever, as consideration for the receipt of, or as consideration for a
       promise or agreement to pay, anything of pecuniary value from an enterprise
       engaged in racketeering activity, or for the purpose of gaining entrance to or
       maintaining or increasing position in an enterprise engaged in racketeering
       activity, murders, kidnaps, maims, assaults with a dangerous weapon,
       commits assault resulting in serious bodily injury upon, or threatens to
       commit a crime of violence against any individual in violation of the laws of
       any State or the United States, or attempts or conspires so to do, shall be
       punished.
       3
           The Second Circuit enumerated these elements as they pertained to the specific
facts at issue in Concepcion, in which the defendant’s “general purpose” was to “maintain or
increase his position in the enterprise.” However, the Second Circuit also held that § 1959
reaches “not only those who seek to maintain or increase their positions within a RICO
enterprise, but also those who perform violent crimes ‘as consideration for the receipt of .
. . anything of pecuniary value’ from such an enterprise.” Id. at 384. Here, the Indictment
charges both motives.

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                1.      As–Applied Challenge to § 1959

        Defendant’s “as–applied” constitutional challenge attacks the sufficiency of the

indictment’s VCAR counts, arguing that because it does not allege that he was part of the

enterprise, or that he knew of the enterprise’s existence, the VCAR charges against him

should be dismissed:

        Mr. Johnson was not involved in any way with the sale of Azibo’s crack
        cocaine at the Charles Street Apartment. Even Taylor and Lashika, who
        identified Mr. Johnson, only put him at the Charles Street Apartments in
        relation to the murders of Tina Johnson, James Reid and Basil Williams, and
        not the crack cocaine sales. See Tr. 2220–2503 (Taylor), 2808–2903 (Lashika).
        Importantly, Taylor (Not Mr. Johnson) anticipated that he would become
        involved in selling Azibo’s crack cocaine at the Charles Street based on his
        involvement in the murders. See, e.g., Tr. at 2285.

(Def.’s Mem. Supp. at 6.) At oral argument, counsel for Defendant further argued that as the

Government did not allege (1) his knowledge of the racketeering organization’s existence

and (2) that he knew that his actions were in furtherance of the racketeering organization,

his indictment should be dismissed, since, as applied to him, a prosecution under § 1959

would violate the Commerce Clause.

        Defendant’s challenge lacks merit for several reasons. As an initial matter,

Defendant’s sufficiency challenge is premature, as it necessarily turns on the Government’s

evidence, and his argument relies exclusively on case law that evaluates the sufficiency of

evidence in § 1959 cases post jury verdict. See, e.g., United States v. Thai, 29 F.3d 785, 819 (2d

Cir. 1994) (“While a defendant's § 1959 conviction is to be affirmed if a motivation to

maintain or increase his position may be reasonably inferred from the evidence, such a

conviction may not be affirmed where, as here, that inference is based on no more than

guesswork.”). In prosecutions under statutes that contain a jurisdictional element, like


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§ 1959, the Second Circuit has held that sufficiency challenges are properly addressed after

the Government’s presentation of its evidence at trial. See Mapp, 170 F.3d at 336 (“The

government offered evidence of five robberies, all of which involved the theft or attempted

theft of the proceeds of a business that engaged in interstate commerce by selling goods that

had been obtained from out of state. This was clearly sufficient evidence to establish the

jurisdictional requirement of section 1959.”); see also United States v. Riddle, 249 F.3d 529,

538 (6th Cir. 2001) (“the jurisdictional provision in the enterprise definition [of § 1959]

distinguishes the statute from Lopez”). For example, in United States v. Alfonso, 143 F.3d 772

(2d Cir. 1998), the Second Circuit reversed a district court’s dismissal of a Hobbs Act

indictment for failure to allege how the conspiracy would have affected interstate commerce.

“In the case of a Hobbs Act prosecution, the requirement of an effect on interstate commerce

is itself an element of the offense charged, and the determination of whether the

jurisdictional element has been satisfied is part and parcel of the inquiry into the “general

issue” of whether the statute has been violated.” Id. at 777. The court further noted that

“ordinarily a challenge to the sufficiency of the evidence satisfying the jurisdictional element

of the Hobbs Act is not appropriately decided on a motion to dismiss.” Id. (emphasis added).

        Defendant argues that Alfonso supports his position, because he contends that the

government has made “a full proffer of the evidence it intends to present at trial to satisfy

the jurisdictional element of the offense” such that dismissal of an indictment for failure to

satisfy the jurisdictional element of the federal statute would be proper. (Def.’s Reply [Doc.

# 1014] at 5 (quoting Alfonso, 143 F.3d at 776–77 (citing United States v. Mennuti, 639 F.2d

107 (2d Cir. 1981)).) The Defendant distinguishes Alfonso by maintaining that the

Government’s brief “offers a 12–page proffer . . . which . . . tracks in substantial part with the


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evidence that the government offered at trial against Azibo Aquart and, presumably, both

with what it presented to the sixth [sic] grand jury and with what it intends to introduce

against Mr. Johnson at trial.” (Def.’s Reply at 5.) However, this is not the same scenario

described in either Alfonso or Mennuti. In Mennuti, a district court’s dismissal of an

indictment for failure to satisfy the jurisdictional element of the federal arson statute was

affirmed where the government had filed an affidavit making a full proffer of its evidence

to be presented at trial, and the district court concluded, based on this full proffer, that the

Government’s evidence—showing the destruction by arson of two buildings used as

residences—did not show an effect on interstate commerce. 639 F.2d at 111. Here, the

Government’s briefings and its oral argument do not resemble, in substance or purpose, a

“full proffer” of the sort alluded to in Alfonso or offered in Mennuti.

        Further, it is undisputed that “narcotics trafficking represents a type of activity that

Congress reasonably found substantially affected interstate commerce,” United States v.

Miller, 116 F.3d 671, 674 (2d Cir. 1997), and statutes that contain a jurisdictional element

require only a de minimus effect on interstate commerce in order to meet the requirements

of the Commerce Clause. See United States v. Gray, 137 F.3d 765, 772–73 (4th Cir. 1998)

(affirming the § 1959 conviction for the murder of a victim who was a heroin addict who had

robbed a stash house, where the inference that the stash house contained heroin and the

government’s evidence that the poppy seeds required to produce heroin were not grown in

Maryland satisfied the interstate nexus requirement); accord United States v. Davila, 461

F.3d 298, 306 (2d Cir. 2006) (“For statutes that contain a jurisdictional element—a category

that includes section 2332a as well as the Hobbs Act, 18 U.S.C. § 1951—evidence of even a

de minimis effect on interstate commerce will satisfy that element.”); United States v. Riddle,


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249 F.3d 529 (6th Cir. 2001) (affirming a RICO and a § 1959 conviction where the

Ohio–based gambling enterprise purchased Pennsylvania lottery tickets to protect against

losses in the illegal gambling business satisfied the “low threshold for a de minimis interstate

commerce connection”).

        The Government maintains, and defense counsel agreed at oral argument, that the

Government has ample evidence that the racketeering enterprise meets the de minimus

standard here. Since, as defense counsel acknowledged, an as–applied challenge is an

intensely factual inquiry, and since the Government has not provided a full proffer of its

evidence in this case, the nature of the Government’s evidence of Defendant’s role in the

enterprise cannot be addressed pre–trial. The Government argues that a conviction under

VCAR requires it to show “that the enterprise existed and that the enterprise engaged in

racketeering activities that affected interstate commerce,” and that its evidence will meet the

de minimus standard because the Charles Street enterprise’s activities, including murder and

narcotics trafficking, affected interstate commerce. While Defendant does not dispute that

the racketeering activities of the Charles Street organization affected interstate commence,

as discussed below, he maintains that the Government must also show Defendant’s

knowledge or awareness of the enterprise’s existence or activities to satisfy the interstate

commerce impact of his conduct before he can be convicted under VCAR.




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               2.      Whether Knowledge of the Enterprise Is Required under the “Pecuniary

                       Value” Motive Element of § 1959

       Defendant argues that the Government’s allegations as to the “pecuniary value” or

“independent contractor” motive element under § 1959 cannot support a conviction because

the indictment fails to allege that Mr. Johnson knew of the existence of the Charles Street

enterprise. In his briefing, Defendant argues that the constitutionality of the “independent

contractor” theory is dubious because the Second Circuit “is the only Circuit to hold ‘in

passing’ that 18 U.S.C. § 1959(a) ‘is sufficiently inclusive to encompass the actions of a

so–called independent contractor.” (Def.’s Mem. Supp. at 12 (citing Concepcion, 983 F.2d

at 384).)4 At oral argument, defense counsel clarified that even assuming the

constitutionality of this motive element, it requires allegations and proof of knowledge,



       4
         In Concepcion, one defendant, Aponte, argued that the government failed to prove
that his killing of one of the victims was “for the purpose of maintaining or increasing
Aponte’s position in the Organization because, he contends, there was insufficient evidence
that Aponte was then a member of the Organization rather than simply an independent
contractor.” 983 F.2d 369, 384. The Second Circuit observed,
        In passing, we note that § 1959 as a whole is sufficiently inclusive to
        encompass the actions of a so-called independent contractor, for it reaches
        not only those who seek to maintain or increase their positions within a
        RICO enterprise, but also those who perform violent crimes “as
        consideration for the receipt of . . . anything of pecuniary value” from such
        an enterprise.

Id. The court noted that the evidence at trial included proof that Aponte had received a
diamond Rolex watch and $10,000 as consideration for killing the victim and concluded that
“[h]ence, even as an independent contractor he could have been prosecuted for a violation
of the clause of § 1959 quoted here.” Id. However, because the indictment alleged only that
Aponte had “sought to maintain or increase his position in the organization,” the panel was
“therefore constrained by those allegations,” but affirmed Aponte’s conviction nonetheless,
holding that the “maintain or increase their positions” motive was satisfied. Id. at 384–85.

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arguing “I don’t think it’s explicit in the statute, . . but I think the statute read as a whole and

the case law read as a whole clearly shows there has to be knowledge [of the enterprise] and

there has to be a fairly close link.”

        The Government opposes this interpretation of the statute, arguing that all it “has

to prove is that the enterprise engaged in racketeering activities that affected interstate

commerce.” The Government acknowledged in its prosecution of Mr. Johnson under the

pecuniary value or independent contractor motive element of § 1959 would fail if

Defendant’s knowledge of the racketeering enterprise were a requirement of the statute. In

response to the Court’s inquiry whether the Government had evidence from which a jury

could conclude that Mr. Johnson knew of the existence of that enterprise, the Government

responded, “No, and our position is we don’t have to have that evidence.”

        Defendant’s insistence that his lack of knowledge about the Charles Street

organization, or Azibo Aquart’s role in the organization, means that these alleged crimes are

nothing more than state law murders finds no support in the case law, likely because most

§ 1959 indictments charge both VCAR motives—that is, that the defendant’s violent act was

performed in relation to his membership in an enterprise and in consideration of the receipt

of something of pecuniary value from the enterprise—and thus allegations of membership

in an enterprise implicitly includes knowledge of that enterprise. Furthermore, it seems

unlikely that the Second Circuit would endorse Defendant’s interpretation of the statute

when its articulation of the elements of § 1959 does not include the knowledge element

Defendant urges, because it deems § 1959 “sufficiently inclusive to encompass the actions

of a so–called independent contractor.” Concepcion, 983 F.2d 369, 384.




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        After considering the Defendant’s now–clarified sufficiency challenge, and his

specific challenge to the pecuniary value motive element, the Court concludes that the

allegations in the Indictment are sufficient to properly charge a § 1959 violation under either

motive element. The Government has charged that the activities of the Charles Street

enterprise, “including murder, conspiracy to murder assault and narcotics trafficking”

(Indictment ¶ 1), “affected interstate and foreign commerce” (id. ¶ 2), and that the murders

charged were in aid of this narcotics trafficking. The murders were committed at the primary

retail outlet of the enterprise and the victims were “rivals” of the Charles Street organization.

(Id. ¶ 5b.) As alleged, the murders and the drug trafficking activities of the Charles Street

organization are intertwined, and the murders are claimed to be committed in furtherance

of the drug trafficking enterprise, such allegations satisfy the requirement of a “de minimus

effect” on interstate commerce.

        As to the pecuniary value motive element, the Government represents that it will

offer direct evidence that Defendant participated in the murders with a pecuniary motive:

Mr. Johnson accepted something of pecuniary value (two free bags of marijuana) from the

enterprise’s leader Azibo Aquart, was told at that time that “[Azibo] would need [Johnson’s]

help later that night,” that Mr. Johnson helped Azibo Aquart commit the murders at the

Charles Street apartment, that John Taylor will testify that “they had no bats [the murder

weapon] until Johnson arrived” (Gov’t Opp’n at 13), and that Taylor saw Johnson “standing

over victim Basil Williams.” (Id.) These allegations—that Defendant Johnson had accepted

something of pecuniary value from the enterprise through Azibo Aquart, the leader of the

Charles Street organization, in return for which Mr. Johnson assisted Aquart in the murder

of three individuals who were in competition with Aquart’s drug selling


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enterprise—sufficiently charge a § 1959 crime, not just a state crime, and an element of

Defendant’s “knowledge” of the enterprise’s existence should not be read into the pecuniary

value motive element of § 1959. Thus, Defendant’s motion to dismiss based on these

challenges to the sufficiency of the indictment and evidence must be denied.

       B.      Challenge to the Aiding or Abetting Charge

       Finally, Defendant argues that Counts Two, Three, and Four should be dismissed

given the “grand jury’s failure to specify with what aiding and abetting conduct Mr. Johnson

is charged.” (Def.’s Mem. Supp. at 19.)

The two subsections, 18 U.S.C. § 2(a) and (b), cover different criminal conduct, as the

Second Circuit noted in Concepcion5:

       To secure a conviction on a theory of aiding and abetting in violation of
       subsection (a), the government must prove that the underlying crime was
       committed by a person other than the defendant and that the defendant
       acted, or failed to act in a way that the law required the defendant to act, with
       the specific purpose of bringing about the underlying crime.


       Whereas § 2(a) speaks in terms of procuring or aiding and abetting the
       commission of an “offense,” and hence requires proof that the primary actor
       had criminal intent, § 2(b) speaks in terms of causing the actor to perform
       only an “act.” This subsection was added to § 2 in 1948 order to make[ ] clear
       the legislative intent to punish as a principal not only one who directly
       commits an offense and one who “aids, abets, counsels, commands, induces
       or procures” another to commit an offense, but also anyone who causes the



       5
       18 U.S.C. § 2 provides,
(a) Whoever commits an offense against the United States or aids, abets, counsels,
commands, induces or procures its commission, is punishable as a principal.

(b) Whoever willfully causes an act to be done which if directly performed by him or another
would be an offense against the United States, is punishable as a principal.

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       doing of an act which if done by him directly would render him guilty of an
       offense against the United States.

Id. (citing 18 U.S.C. § 2 Historical and Revision Notes). In Concepcion, the court found that

while one defendant’s conviction“cannot be sustained on the basis of aiding and abetting

under § 2(a) because there is no evidence as to who fired the shots,” it nonetheless affirmed

the jury’s finding of guilt under § 2(b). Id. Because of the Second Circuit’s differentiation

between these sections in Concepcion, Defendant argues that the Indictment must specify

which subsection of 18 U.S.C. § 2 he is charged with, and seeks dismissal of Counts Two

through Four or re–submission to a grand jury for the requisite particularity.

       Defendant offers no supporting case law or other legal authority that the subsections

of 18 U.S.C. § 2 must be itemized in the Indictment. The Government argues that there is

no such requirement, citing United States v. Smith, 727 F.2d 214 (2d Cir. 1984) (the “well

established rule in this and other circuits is that a ‘defendant may be indicted for the

commission of a substantive crime and convicted of aiding and abetting its commission

although not named in the indictment as an aider and abettor’”). Since the Indictment

charges violations of § 2, consisting of two components, Defendant is apprised that he is

charged under both subsections in the Indictment, in satisfaction of the Fifth and Sixth

Amendments. In fact, however, the Government has represented that it intends to pursue

only §2(a). Thus, Defendant’s motion to dismiss Counts Two though Four will be denied.

       C.      Bill of Particulars

       Mr. Johnson argues alternatively that a bill of particulars is necessary and

appropriate. The Government opposes, maintaining that it provided voluminous discovery

to Defendant and he has had the benefit of trial transcripts of the Government’s witnesses



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from the trial of Co–Defendant Azibo Aquart, and thus “it is difficult to imagine, given the

posture of this case, a theory under which a bill of particulars would be warranted in this

case.” (Gov’t Opp’n at 27.)

        Rule 7(f) permits a defendant to seek a bill or particulars “in order to identify with

sufficient particularity the nature of the charge pending against him, thereby enabling

defendant to prepare for trial, to prevent surprise, and to interpose a plea of double jeopardy

should he be prosecuted a second time for the same offense.” United States v. Bortnovsky,

820 F.2d 572, 574 (2d Cir. 1987). The decision to grant a request for a bill of particulars rests

within the sound discretion of the district court. United States v. Panza, 750 F.2d 1141, 1148

(2d Cir. 1984).

        Given recent trial of Azibo Aquart for these murders , the exhibits, transcripts, and

other discovery made available to Defendant, Defendant’s claim that he is not aware of the

nature of the charges pending against him is unpersuasive, particularly in light of the

representations made by the Government at oral argument on January 6, 2012 as to what it

claims (and does not claim). In sum, Defendant knows that he is charged under both motive

elements of § 1959; he knows that the Government does not have the evidence to show that

he knew of the existence of the Aquart enterprise, and that he is charged as an aider and

abetter under § 2(a). Therefore, the Court finds that a bill of particulars is not warranted in

this situation.




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III.   Conclusion

       For the reasons discussed above, Defendant’s Motion [Doc. # 995–1] to Dismiss

Counts One through Four of the Indictment is DENIED, and his Motion for a bill of

particulars is also DENIED.



                                          IT IS SO ORDERED.



                                             /s/
                                          Janet Bond Arterton, U.S.D.J.

                       Dated at New Haven, Connecticut this 26th day of January, 2012.




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